
687 S.E.2d 294 (2009)
STATE of North Carolina
v.
Samuel Travis TANNER.
No. 474PA08.
Supreme Court of North Carolina.
November 5, 2009.
Robert C. Montgomery, Special Deputy Attorney General, for State of NC.
William D. Spence, Kinston, for Tanner.
Prior report: 193 N.C.App. 150, 666 S.E.2d 845.

ORDER
Upon consideration of the petition filed by State of NC on the 20th of October 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 5th of November 2009."
Upon consideration of the petition filed on the 20th of October 2008 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 5th of November 2009."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
